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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    CRESCENIO DELGADO-ESQUIVEL
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. CR-S-11-00075-MCE
                                     )
12                  Plaintiff,       )
                                     )      STIPULATION AND ORDER TO CONTINUE
13        v.                         )      STATUS CONFERENCE
                                     )
14   CRESCENCIO DELGADO-ESQUIVEL,    )
     et al.,                         )      Date: December 15, 2011
15                                   )      Time: 9:00 a.m.
                    Defendants.      )      Judge: Hon. Morrison C. England
16                                   )
     _______________________________ )
17
18
19         IT IS HEREBY STIPULATED between the parties, plaintiff United States
20   of America by its attorney SAMUEL WONG, Assistant United States Attorney;
21   DOUGLAS BEEVERS, Assistant Federal Defender, attorney for defendant
22   CRESCENCIO   DELGADO-ESQUIVEL;     GILBERT    ROQUE,    attorney   for   defendant
23   SALVADOR   JAMACICA-ARELANO;    CLEMENTE     JIMENEZ,   attorney   for   defendant
24   LAZARO ANDRADE-BAUTISTA; that the status conference of November 17, 2011
25   at 9:00 a.m., be vacated, and the matter be set for status conference on
26   December 15, 2011, at 9:00 a.m.
27   ///
28   ///
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1          The reason for the continuance to allow defense counsel additional
2    time to review the voluminous discovery, investigate the facts of the
3    case, and communicate the progress of the preparation of each defendant's
4    defense to each client. These tasks are made much more difficult and time
5    consuming as all defendants are Spanish speakers and require the use of
6    a Spanish/English interpreter to aid in the translation of documents,
7    such as proposed plea agreements and discovery reports, and in working
8    with any non-Spanish speaking defense counsel. The task of preparation of
9    defendant DELGADO-ESQUIVEL's defense is made particularly more difficult
10   because he is named as a defendant in two separate criminal cases
11   stemming from the same criminal investigation.               The parties agree a
12   continuance is necessary for these purposes, and agree to exclude time
13   under the Speedy Trial Act accordingly.
14         IT IS STIPULATED that the period from the date of the parties’
15   stipulation, November 16, 2011,        and up to and including the December 15,
16   2011, Status Conference, shall be excluded in computing the time within
17   which trial of this matter must be commenced under the Speedy Trial Act,
18   pursuant to 18 U.S.C §3161(h)(7)(A) and (B)(iv) and Local Code and T4
19   (ongoing preparation of defense counsel). The parties further stipulate
20   and agree that the Court shall find that: (1) the requested continuance
21   is necessary to provide defense counsel reasonable time necessary for
22   effective preparation, taking into account the exercise of due diligence;
23   and (2) the ends of justice to be served by granting a continuance
24   outweigh the best interests of the public and the defendants in a speedy
25   trial.
26   ///
27   ///
28   ///


     Stip and Order                           -2-
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1    Dated: November 16, 2011               Respectfully submitted,
2                                           DANIEL BRODERICK
                                            Federal Defender
3
                                            /s/ Doug Beevers
4                                           DOUG BEEVERS
                                            Assistant Federal Defender
5                                           Attorney for Defendant
                                            CRESCENCIO DELGADO-ESQUIVEL
6
7    Dated: November 16, 2011               /s/ Gilbert Roque
                                            GILBERT ROQUE
8                                           Attorney for Defendant
                                            SALVADOR JAMACICA-ARELANO
9
10   Dated: November 16, 2011               /s/ Clemente Jimenez
                                            CLEMENTE JIMENEZ
11                                          Attorney for Defendant
                                            LAZARO ANDRADE-BAUTISTA
12
13
14   Dated: November 16, 2011               BENJAMIN B. WAGNER
                                            United States Attorney
15
                                            /s/ Samuel Wong
16                                          SAMUEL WONG
                                            Assistant U.S. Attorney
17                                          Attorney for Plaintiff
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     Stip and Order                        -3-
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1                                              ORDER
2          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
3    ordered that the status conference presently set for November 17, 2011,
4    be    continued    to   December    15,    2011,    at     9:00   a.m.   Based    on   the
5    representation of defense counsel and good cause appearing therefrom, the
6    Court hereby finds that it is unreasonable to expect adequate preparation
7    for   pretrial    proceedings      and    trial   itself    within   the   time    limits
8    established in 18 U.S.C. § 3161, the requested continuance is necessary
9    to provide defense counsel reasonable time necessary for effective
10   preparation, taking into account the exercise of due diligence.                        The
11   Court finds the ends of justice to be served by granting a continuance
12   outweigh the best interests of the public and the defendants in a speedy
13   trial.
14         It is ordered that time from the date of the parties’ stipulation,
15   November 16, 2011, up to and including, the December 15, 2011, status
16   conference shall be excluded from computation of time within which the
17   trial of this matter must be commenced under the Speedy Trial Act
18   pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow
19   defense counsel reasonable time to prepare).
20
     Dated: November 17, 2011
21
22                                             _____________________________
                                               MORRISON C. ENGLAND, JR.
23
                                               UNITED STATES DISTRICT JUDGE
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     Stip and Order                             -4-
